                                           No. 22-70013
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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT
                        ___________________________

                                WALTER ALEXANDER SORTO,
                                    Petitioner-Appellant

                                                          v.

  BOBBY LUMPKIN, Director, Texas Department of Criminal Justice,
              Correctional Institutions Division,
                    Respondent-Appellee
                ___________________________

      Opposed Motion for Leave to File a Reply to Respondent’s
      Opposition to Application for Certificate of Appealability
                     ___________________________

         Petitioner-Appellant Walter Alexander Sorto respectfully requests

leave to file a Reply to Respondent-Appellee’s response in opposition to

his Appeal of the District Court’s Interpretation of this Court’s March

28, 2018, Remand Order and Application for Certificate of Appealability

with Brief in Support.1 A copy of the proposed Reply is being filed

contemporaneously with this Motion.

         1
           The document Petitioner-Appellant filed in this Court on February 28, 2023, is both an appeal of the
district court’s interpretation of this Court’s remand order and an application for a certificate of appealability
(“COA”). The document Respondent-Appellee filed on June 1, 2023, responds to both the appeal and the
application for a COA. Pursuant to this Court’s rules, Petitioner-Appellant must request leave to file a reply to that
portion of Respondent-Appellee’s document in opposition to his application for a certificate of appealability. A
motion for leave to file a reply is not required to reply to the portion of Respondent-Appellee’s document in
opposition to Sorto’s appeal of the district court’s interpretation of this Court’s remand order. See Fed. R. App. P.
                                         Respectfully submitted,

                                        s/ David R. Dow
                                   _______________________
                                         David R. Dow
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              Counsel to Petitioner-Appellant, Walter Alexander Sorto




31(a)(1). Because Petitioner-Appellant’s filing pertains to both the issuance of a COA as well the lower court’s
interpretation of the remand order, Counsel is uncertain as to whether this Motion for Leave is required with respect
to the portion of the filing addressing the issuance of a COA, but is nevertheless filing this Motion in the event that it
is required.
           Certificates of Service and Compliance with
                      ECF Filing Standards

      I certify that on June 14, 2023, this Motion for Leave to File was
served, via the Court’s CM/ECF Document Filing System, upon the
following registered CM/ECF users:

     Kathryn Cherry, Assistant Solicitor General
     Office of the Attorney General
     P.O. Box 12548
     Austin, Texas 78711-2548
     Kathryn.Cherry@oag.texas.gov

      Counsel further certifies that (1) required privacy redactions have
been made in compliance with Fifth Circuit Rule 25.2.13; (2) the
electronic submission is an exact copy of the paper document in
compliance with Fifth Circuit Rule 25.2.1; and (3) the document has
been scanned with the most recent version of a commercial virus
scanning program and is free of viruses.

                                             s/ David R. Dow
                                             ______________________
                                             David R. Dow


                      Certificate of Conference

      I certify that Counsel for Respondent-Appellee, Kathryn Cherry,
was contacted via email regarding this Motion. Ms. Cherry informed
Counsel that Respondent-Appellee is opposed to this Motion for Leave
to File.
                                             s/ David R. Dow
                                             ______________________
                                             David R. Dow
